
53 N.Y.2d 683 (1981)
In the Matter of Laura Lindley, Petitioner,
v.
Babylon Town Clerk et al., Respondents.
John Braslow, Appellant,
v.
Raymond C. Allmendinger, as Supervisor of the Town Board of the Town of Babylon, et al., Respondents..
Court of Appeals of the State of New York.
Argued March 26, 1981.
Decided March 27, 1981.
Patrick Kevin Brosnahan, Jr., for appellant.
Paul Thorpe for Laura Lindley, respondent.
Joseph F. Klein, Town Attorney (Steven M. Schapiro of counsel), for Raymond C. Allmendinger and others, respondents.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Order affirmed, without costs, for reasons stated in the memorandum at the Appellate Division. We note that we do not reach and therefore do not pass on the question whether in a single petition for permissive referendum more than one resolution may be joined.
